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1                                   UNITED STATES DISTRICT COURT
                                              FOR THE
2                                    NORTHERN DISTRICT OF TEXAS
3

4
     ARLESA GREER,                                   §
                                                     §
5                    Plaintiff                       §
                                                     §
6            v.                                      §   Case No.:
                                                     §
7    MEDICREDIT, INC.,                               §   COMPLAINT AND DEMAND FOR
                                                     §   JURY TRIAL
8                    Defendant                       §
                                                     §   (Unlawful Debt Collection Practices)
9

10
                                                COMPLAINT
11
             ARLESA GREER (“Plaintiff”), by her attorneys, KIMMEL & SILVERMAN, P.C.,
12
     alleges the following against MEDICREDIT (“Defendant”):
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14
                                             INTRODUCTION
15
             1.      Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act, 15
16
     U.S.C. § 1692 et seq. (“FDCPA”).
17

18
                                      JURISDICTION AND VENUE
19

20           2.      Jurisdiction of this court arises pursuant to 15 U.S.C. § 1692k(d), which states

21   that such actions may be brought and heard before “any appropriate United States district court

22   without regard to the amount in controversy,” and 28 U.S.C. § 1331 grants this court original

23   jurisdiction of all civil actions arising under the laws of the United States.
24           3.      Defendant conducts business in the State of Texas and therefore, personal
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     jurisdiction is established.


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1           4.      Venue is proper pursuant to 28 U.S.C. §1391(b)(2).
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                                                   PARTIES
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            5.      Plaintiff is a natural person residing in Terrell, Texas.
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            6.      Plaintiff is a “consumer” as that term is defined by 15 U.S.C. § 1692a(3).
6
            7.      Defendant is a national debt collection company with corporate headquarters
7
     located at 3 City Place Drive, Suite 6900, Saint Louis, Missouri 63141.
8
            8.      Defendant is a “debt collector” as that term is defined by 15 U.S.C. § 1692a(6),
9
     and repeatedly contacted Plaintiff in an attempt to collect a debt.
10

11          9.      Defendant acted through its agents, employees, officers, members, directors,

12   heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

13

14                                     FACTUAL ALLEGATIONS
15          10.     At all relevant times, Defendant was attempting to collect an alleged consumer
16
     debt from Plaintiff, related to a medical debt incurred from Presbyterian Hospital.
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            11.     The debt at issue arose out of transactions, which were primarily for personal,
18
     family, or household purposes.
19
            12.     Beginning in or around February 2017, and continuing through May 2017,
20
     Defendant’s collectors placed repeated harassing telephone calls to Plaintiff’s cellular telephone
21
     seeking to collect this alleged debt.
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23
            13.     Defendant’s harassing debt collection calls derived from numbers including, but

24   not limited to (888) 930-4297. The undersigned has confirmed that this number belongs to the

25   Defendant.


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1           14.     Plaintiff repeatedly told Defendant to stop calling.
2           15.     However, Defendant continued to call.
3
            16.     Once Defendant knew that its calls were unwanted, any further calls could only
4
     have been placed for the purpose of harassing Plaintiff.
5
            17.     Defendant’s telephone calls were also frequently placed at times known to be
6
     inconvenient, including after 9:00 P.M.
7
            18.     Finally, within five (5) days of its initial communication with Plaintiff, Defendant
8
     failed to send Plaintiff written notice setting forth her rights to dispute the debt and/or seek
9
     verification of the debt pursuant to the FDCPA.
10

11          19.     Defendant’s actions as described herein were made with the intent to harass,

12   upset and coerce payment from Plaintiff.

13

14                                     COUNT I
                         DEFENDANT VIOLATED § 1692d OF THE FDCPA
15
             20.    A debt collector violates § 1692d by engaging in any conduct the natural
16

17   consequence of which is to harass, oppress, or abuse any person in connection with the collection

18   of a debt.

19           21.    Defendant violated § 1692d when it placed repeated and continuous harassing

20   telephone calls to Plaintiff and when it continued calling Plaintiff’s cellular telephone after he
21   explicitly told Defendant to stop.
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1                                      COUNT II
                        DEFENDANT VIOLATED § 1692d(5) OF THE FDCPA
2
             22.     A debt collector violates § 1692d(5) by causing a telephone to ring or engaging
3

4
     any person in telephone conversation repeatedly or continuously with intent to annoy, abuse, or

5    harass any person at the called number.

6            23.     Defendant violated § 1692d(5) when it placed repeated and continuous harassing

7    telephone calls to Plaintiff.

8

9
                                       COUNT III
                       DEFENDANT VIOLATED § 1692c(a)(1) OF THE FDCPA
10

11           24.     A debt collector violates § 1692c(a)(1) if without the prior consent of the

12   consumer given directly to the debt collector or the express permission of a court of competent

13   jurisdiction, it contacts a consumer at an unusual time or place or a time or place known or which

14   should be known to be inconvenient to the consumer.
15           25.     Defendant violated § 1692c(a)(1) when it contacted Plaintiff at inconvenient
16
     times, such as after 9pm.
17

18
                                        COUNT IV
19                        DEFENDANT VIOLATED § 1692g OF THE FDCPA

20           26.     A debt collector violates § 1692g(a) if within five days after the initial
21   communication with a consumer, the debt collector fails to send the consumer a written notice
22
     containing (1) the amount of the debt; (2) the name of the creditor to whom the debt is owed; (3) a
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     statement that unless the consumer, within thirty days after receipt of the notice, disputes the
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     validity of the debt, or any portion thereof, the debt will be assumed to be valid by the debt
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     collector; (4) a statement that if the consumer notifies the debt collector in writing within the

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1    thirty-day period that the debt, or any portion thereof, is disputed, the debt collector will obtain
2    verification of the debt or a copy of a judgment against the consumer and a copy of such
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     verification or judgment will be mailed to the consumer by the debt collector; and (5) a statement
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     that, upon the consumer's written request within the thirty-day period, the debt collector will
5
     provide the consumer with the name and address of the original creditor, if different from the
6
     current creditor.
7
               27.   Defendant violated § 1692g(a) by failing to send written notification, within five
8
     (5) days after its initial communication with Plaintiff, advising them of their rights to dispute the
9
     debt or request verification of the debt.
10

11

12             WHEREFORE, Plaintiff, ARLESA GREER, respectfully pray for a judgment as follows:

13                       a. All actual compensatory damages suffered pursuant to 15 U.S.C. §

14                          1692k(a)(1);

15                       b. Statutory damages of $1,000.00 for the violation of the FDCPA pursuant to

16                          15 U.S.C. § 1692k(a)(2)(A);

17                       c. All reasonable attorneys’ fees, witness fees, court costs and other litigation

18                          costs incurred by Plaintiff pursuant to 15 U.S.C. § 1693k(a)(3); and

19                       d. Any other relief deemed appropriate by this Honorable Court.

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21                                         DEMAND FOR JURY TRIAL
22             PLEASE TAKE NOTICE that Plaintiff, ARLESA GREER, demands a jury trial in this
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      case.
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                                      RESPECTFULLY SUBMITTED,
5
     DATED: August 4, 2017           By: /s/ Amy L. Bennecoff Ginsburg
6                                    Amy L. Bennecoff Ginsburg, Esquire
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9
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